         Case 7:20-cv-04192-KMK Document 30-1 Filed 01/11/21 Page 1 of 3
         Case 7:20-cv-04192-KMK Document 31 Filed 01/12/21 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



 UNIVERSAL INTERNATIONAL MAX,
 LTD.,

                        Plaintiff,                        Civil Action No. 20-CV-4192
                V.
                                                          [PROPOSED] DEFAULT JUDGMENT
 DONALD J PLINER OF FLORIDA, LLC,


                        Defendant.



       This matter comes before the Court upon the request of Plaintiff Universal International

Max, Ltd. ("Max"), brought by an Order to Show Cause, for the entry of a final judgment by

default against Defendant Donald J Pliner of Florida, LLC ("DJP") for breach of contract,

violation ofN.Y. U.C.C. § 2-709; and accounts stated.

       WHEREAS DJP has failed to respond to the Complaint and/or First Amended Complaint

(collectively, the "Complaint"), filed and properly served upon DJP in this action and the

deadlines for answering have expired;

       WHEREAS DJP has not opposed Max's application for a default judgment and failed to

appear at the Court's Show Cause hearing; and

       WHEREAS the Court, having considered the Affidavit of Max's counsel, John P.

Marston, together with its exhibits; the Affidavit of Max witness Calvin Wei together with its

exhibits; and the Damages Statement; together with the affidavits of service of the summonses,

the Complaints, the Certificate of Default entered by the Clerk of the Court stating that no

answer has been filed by DJP in the instant action in response to the Complaints, and upon all

other pleadings and papers on file in this Action:

                                                 1

FHBOSTON5208663.3
         Case 7:20-cv-04192-KMK Document 30-1 Filed 01/11/21 Page 2 of 3
             Case 7:20-cv-04192-KMK Document 31 Filed 01/12/21 Page 2 of 3



        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED as follows (hereinafter, the

"Default Judgment Order"):

        A.       DJP's Liability

        IT IS HEREBY ORDERED that Max's application for default judgment is granted in

favor of Max on all claims asserted against DJP in the Complaints.

        B.       Monetary Damages

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that because Max has

sufficiently set forth a basis in its application for an award of damages, the Court finds that Max

is entitled to a liquidated damages award in the amount of one million, two hundred six

thousand, five hundred seventy-four U.S. dollars and twenty-six cents ($1 ,206,574.26), pre-

judgment interest in the amount of one hundred seventy-five thousand, eight hundred ninety-five

U.S. dollars ($175 ,895 .00), plus attorneys' fees in the amount of fifty-seven thousand, six

hundred eighty-eight U.S. dollars and ten cents ($57,688.10), and costs in the amount of one

thousand sixty-four U.S . dollars and forty cents ($1 ,064.40), amounting in total to one million,

four hundred forty-one thousand, two hundred twenty-one dollars and seventy-six cents

($1 ,441 ,221.76).

        C.       Post-Judgment Asset Transfer and Asset Freeze Order

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED:

        1.       That in accordance with Rule 64 of the Federal Rules of Civil Procedure, Article

52 of New York State's Civil Practice Law and Rules, and this Court' s inherent equitable powers

to issue remedies ancillary to its authority to provide final relief, and given the difficulties Max

would have enforcing this Default Judgment Order, DJP ' s assets are hereby frozen until Max has

recovered the full payment of the Damages Award owed to it by DJP under this Default

Judsment Order1 to be released and transferred to Max as full satisfaction of the Damases


FHBOSTON5208663 .3
        Case 7:20-cv-04192-KMK Document 30-1 Filed 01/11/21 Page 3 of 3
            Case 7:20-cv-04192-KMK Document 31 Filed 01/12/21 Page 3 of 3



Award, and transferred to Max through Max's counsel forthwith, and upon receipt by Max's

counsel of such frozen assets in full satisfaction of the damages owed by DJP, the financial

institution(s) holding those frozen assets and accounts may unfreeze the frozen assets and

accounts. To the extent that DJP's frozen assets are less than the damages owed by DJP, those

assets are hereby released and transferred to Max as partial satisfaction of the Damages Award

and those frozen assets shall be transferred to Max through Max's counsel forthwith; and

       2.       Max shall have the ongoing authority to serve this Default Judgment Order on any

financial institutions controlling or otherwise holding such DJP assets and/or financial accounts.

Upon notice of this Default Judgment Order, financial institutions holding DJP's assets and/or

financial accounts shall immediately locate DJP's financial accounts, attach, and restrain such

assets in DJP's financial accounts from being secreted, concealed, transferred, disposed of, or

withdrawn; and after twenty (20) business days following the service of this Default Judgment

Order on any financial institution holding DJP's assets and/or financial accounts, such financial

institution shall transfer all of DJP's assets to Max as partial or full satisfaction of the Damages

Award, unless DJP has filed with this Court and served upon Max's counsel a request that such

assets be exempted from this Default Judgment Order.



        SO ORDERED this /
                             --
                               J.   day of Jafr}UoJ>'f , 2021.
                                                     (/




                                                                              dge Kenneth M. Karas
                                                                         United States District Judge




FHBOSTON5208663.3
